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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  SOUTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

JOSHUA DICKINSON,                        )
                                         )
           Plaintiff,                    )
                                         )
v.                                       )
                                         )
MOBILE COUNTY, ALABAMA;                  )
MOBILE COUNTY SHERIFF SAM                ) CASE NO. 1:19-cv-00706-JB-B
COCHRAN; MOBILE COUNTY                   )
METRO JAIL WARDEN NOAH                   )
PRICE “TREY” OLIVER, III;                )
KEENISHA K SMITH; MARQUIS                )        JURY DEMAND
WESTRY; GREGORY JOHNSON;                 )
ANTHONY BROWN; JAMORRIS                  )
CAGE; BENJAMIN SWAIN;                    )
TA’ERIC SIMS; DEVANTE                    )
MURPHY; V. WILCOX;                       )
THADDEOUS JOHNSON; PATRICK               )
FLANNAGAN; GREGORY DAVIS;                )
CLARISSA MITCHELL; CARLISHA              )
CUNNINGHAM; NAPHCARE, INC.;              )
and JOHNNY HOLSTEN,                      )
                                         )
           Defendants.                   )

                        THIRD AMENDED COMPLAINT

                         JURISDICTION AND VENUE

      1.    This action arises under the Fourteenth Amendment to the United

States Constitution; 42 U.S.C. § 1983.




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      2.     This Court has jurisdiction of plaintiff’s Federal claims pursuant to 28

U.S.C. § 1331. This Court further has supplemental jurisdiction of plaintiff’s state

law claims pursuant to 28 U.S.C. § 1367(a).

      3.     Venue is proper under 28 U.S.C. § 1391(b), as the majority of the

defendants reside in this judicial district and the events and omissions giving rise to

plaintiff’s claims occurred within this judicial district.

                                       PARTIES

      4.     Plaintiff Joshua Dickinson is of legal age, a citizen, and a resident of

the state of Alabama and Clarke County.

      5.     Defendant Mobile County, Alabama is an Alabama county. It is

responsible for funding the Mobile County Metro Jail (MCMJ).

      6.     Defendant Sam Cochran was the Mobile County Sheriff at all relevant

times. As the sheriff, among other things, he is responsible for management of the

MCMJ. Defendant has a statutory duty under Alabama law to attend to the needs

of inmates in the MCMJ.

      7.     Defendant Noah Price “Trey” Oliver was the MCMJ Warden at all

relevant times.

      8.     Defendants Keenisha K. Smith, Marquis Westry, Gregory Johnson,

Anthony Brown, Jamorris Cage, Benjamin Swain, Ta’Eric Sims, and Devante

Murphy were employed as correctional officers at MCMJ and were responsible for

physically placing Brown into a cell with Joshua or for directing Brown to be
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placed into a cell with Joshua despite knowledge of Brown’s violent criminal and

jail history and current violent state.

      9.     Defendants V. Wilcox, Thaddeous Johnson, Patrick Flannagan,

Gregory Davis, Clarissa Mitchell, and Carlisha Cunningham participated in

booking Brown into the jail, were aware of Brown’s violent criminal and jail

history and current violent state, were aware Brown was being placed into a cell

with Joshua, yet failed to intervene to protect Joshua.

      10.    Naphcare, Inc. was at all relevant times the medical contractor at

MCMJ. NaphCare’s headquarters is in Birmingham, Alabama.

      11.    Defendant Johnny Holsten was at all relevant times a nurse employed

at the jail by Naphcare.

      12.    Plaintiff sues each of the individual defendants in their individual

capacity unless otherwise noted. Each of the individual defendants acted under

color of state law and within the scope of his employment when engaging in the

misconduct described herein.




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                                      FACTS

        13.   On January 9, 2018, Joshua Dickinson (Joshua) was arrested for a

misdemeanor domestic violence harassment charge (a non-violent offense), arising

out of a dispute with his aunt during an emotional family gathering at his

grandmother’s hospital room.

        14.   Joshua was transported to the Mobile County Metro Jail (MCMJ) in

Mobile, Alabama. He was processed through MCMJ’s intake system and placed in

a three-man cell which was locked down twenty-three hours a day. Joshua was

allowed out of his cell and into a wedge day room one hour a day.

        15.   Joshua was assigned to this wedge and cell based upon his mental

condition at the time.

        16.   Joshua was issued suicide prevention garb and kept under observation

as were all other detainees in this wedge.

        17.   Due to his mental condition, Joshua was vulnerable to abuse by other

inmates.

        18.   Joshua’s first cell mate was a Black male with an obvious mental

condition. The cell mate talked to himself all night, but Joshua was unable to

communicate with him. The condition of this cell mate so frightened Joshua that

he sought assistance from MCMJ personnel to see a psychiatrist but was denied the

same.



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      19.    A second cell mate, a Hispanic male, was brought in but was held

only for twenty-four hours and then released.

      20.    On January 11, 2018, between 6:30 and 8:00 in the morning, a Joshua

Brown (Brown) was dragged into Joshua’s cell by multiple correctional officers.

Brown was in a rage and fighting with these correctional officers.

      21.    Defendant Keenisha K. Smith and Naphcare nurse Johnny Holsten,

despite knowledge of Brown’s violent criminal and jail (discussed below) and his

current violent state, assigned Brown to be in a cell with Joshua.

      22.    Smith’s assignment decision was approved by the jail’s sergeant

(Gregory Johnson) and lieutenant (Marquis Westry) on duty. These defendants,

like Smith, knew of Brown’s criminal and jail violence history (discussed below)

and his current violent state, but nevertheless approved the assignment of Brown to

be in a cell with Joshua.

      23.    Defendants Anthony Brown, Jamorris Cage, Benjamin Swain, Ta’Eric

Sims, and Devante Murphy physically placed Brown in the cell with Joshua or

were present and failed to intervene.

      24.    Each of these defendants was aware not only of Brown’s current

violent state but also of his violent criminal and jail history.

      25.    Each of these defendants was aware that Joshua was a non-violent

offender in a mental health crisis.



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      26.    Defendants Keenisha K. Smith, Marquis Westry, Gregory Johnson,

Anthony Brown, Jamorris Cage, Benjamin Swain, Ta’Eric Sims, and Devante

Murphy all recognized that placing Brown into a cell with any other person, let

alone a non-violent individual like Joshua, placed Joshua’s physical safety at risk.

These defendants recognized Brown as a present danger to other inmates.

      27.    Nevertheless, these individuals, acting with deliberate indifference,

placed Brown in a cell with Joshua (or failed to intervene to protect Joshua).

      28.    Additionally, because Brown was placed into a cell with Joshua at

shift change, correctional officers assigned to the prior shift, defendants V. Wilcox,

Thaddeous Johnson, Patrick Flannagan, Gregory Davis, Clarissa Mitchell, and

Carlisha Cunningham, also had knowledge of Brown and an opportunity to protect

Joshua.

      29.    Each of these defendants had been involved with receiving Brown

from the arresting officers and participated in booking Brown into the jail.

      30.    As a result, these defendants were aware of Brown’s violent criminal

and jail history and current violent state and were aware Brown was being placed

into a cell with Joshua.

      31.    Nevertheless, these individuals, acting with deliberate indifference,

failed to intervene to protect Joshua.

      32.    Brown was fighting with police officers as he was brought into

MCMJ and had been fighting with correctional officers since his arrival at MCMJ.
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      33.    Brown stated so that all, including each of these correctional officer

defendants, could hear his intention to do violence.

      34.    These defendants (Wilcox, Johnson, Flannagan, and Davis) were also

responsible for searching Brown.

      35.    Because of Brown’s violence, these defendants, acting with deliberate

indifference and contrary to MCMJ policy, did not thoroughly search Brown.

      36.    As a result, when Brown was dragged by jail correctional officers into

the cell with Joshua and the Black male inmate, Brown had a knife.

      37.    Brown was well known to the correctional staff at MCMJ prior to

January 11, 2018.

      38.    Brown was a convicted murderer who had spent years in the state

prison system.

      39.    Brown’s status as a convicted murderer was recorded on his MCMJ

record and was known to all of the correctional officer defendants.

      40.    The correctional officer defendants were also aware that Brown was a

habitual criminal who, since his murder conviction, had been arrested multiple

times, including on drug and theft charges.

      41.    These defendants knew that during his prior incarcerations in MCMJ,

Brown was known to be a violent and difficult inmate.

      42.    These defendants were also aware that Brown was currently violent

and a danger to other inmates and that Joshua was not a violent inmate.
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      43.    Even without the prior murder conviction (and other history), it would

have been obvious to any correctional officer that Brown, a violent, out-of-control

inmate, should never have been housed with any other inmate, let alone first-time,

non-violent arrestee Joshua.

      44.    That MCMJ correctional staff housed Brown with Joshua was a gross

deviation from correctional standards and indicates a fundamental failure in MCMJ

policies and procedures.

      45.    This gross deviation was known to and participated in by numerous

correctional officers, including the named correctional officer defendants.

      46.    After Brown was placed in the cell, Joshua turned his back on the

others and began to do pushups against the wall when suddenly he was hit across

the back of the head. As Joshua turned around, Brown attacked him with a

switchblade, or some other commercially-made knife, and stabbed Joshua in the

right shoulder.

      47.    Joshua attempted to fight back and punched Brown away from him.

Brown then stabbed Joshua in the left shoulder.

      48.    Brown also attempted to stab Joshua in the chest, and Joshua received

more, serious stab wounds.

      49.    At some point, the cell door was opened and the two emerged,

struggling, into the day room.



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       50.    Correctional officers were called to the wedge at this point and a

Taser was used on both Joshua and Brown. Joshua found himself lying in a huge

pool of his own blood as he lost consciousness.

       51.    Joshua was taken to the University of South Alabama Medical Center

where he was treated and his wounds were sutured.

       52.    Joshua was returned to MCMJ and placed in a cell by himself.

       53.    The next morning, Joshua was bonded out by his mother.

       54.    Joshua suffered traumatic and serious physical and emotional injuries

as a result of the assault.

       55.    Shortly following Joshua’s release from MCMJ, he suffered an

emotional breakdown. He was taken to the Clarke County, Alabama jail and

thereafter was probated and committed to Brown-Whitfield Hospital, a mental

institution in Demopolis, Alabama.        Joshua suffered such severe emotional

distress, rage, and anger due to the attack that it contributed to his hospitalization

and his commitment in Demopolis. This hospitalization was a direct result of the

Defendants’ violations of Joshua’s Fourteenth Amendment rights.

       56.    In the months that followed, Joshua was contacted by the Mobile

County District Attorney, Ashley Rich, in order to assist the District Attorney’s

office in the prosecution of Brown.        After initially interviewing Joshua and

preparing for trial, prosecutors stopped contacting him. Joshua is unaware of the

outcome of the case against Brown.
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      57.    An Alabama county commission is charged with maintaining jails and

each county is required to maintain a jail of sufficient size and strength to secure

the prisoners. Ala. Code (1975) §§ 11-14-10, 11-14-13. The counties’ duties to

“maintain a jail” under Ala. Code (1975) § 11-14-10 requires that it keep the “jail

and all equipment therein in a state of repair and to preserve it from failure or

decline.”   Keeton v. Fayette County, 558 So.2d 884, 886 (Ala. 1989).           The

Alabama Code provides for the counties to remain informed about conditions in

the jails. The county commission has the authority to inspect the jail without

notice to the sheriff. Ala. Code § 11-14-22 (1989).

      58.    Despite Joshua’s vulnerability and lack of a serious criminal history,

Joshua was housed with violent inmates, including a convicted murder currently in

a fit of rage and violence, Joshua Brown, who on or about January 11, 2018,

brutally attacked plaintiff, including stabbing him multiple times.

      59.    During the news coverage of the attack upon Joshua, Trey Oliver, the

Warden of MCMJ, stated that a contributing cause for the assault on Joshua with a

knife was inadequate physical space for inmates being processed into MCMJ, a

problem of which the Mobile County Commission had been aware for years.

Oliver had himself stated in a Public Televison interview in January 2019 that he

was aware of up to seven inmates housed in a two-man jail cell.

      60.    The physical plant of MCMJ is so inadequately built and/or

maintained that adequate searches cannot not be made of the incoming inmates.
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       61.   The failure of the Mobile County Commission to correct this facility

problem was a proximate cause of Brown’s attack on Joshua with a knife.

       62.   The more fundamental problems, however, are that MCMJ is housing

more inmates than it can safely and that Cochran and Oliver, acting with deliberate

indifference, have failed to adequately implement a proper classification system

and take other measures to reduce inmate-on-inmate violence, failures that have

been exacerbated by the overcrowding situation.

       63.   As a 2009 U.S. Department of Justice letter to Defendant Cochran and

the Mobile County Commission stated, “[a] meaningful classification system is

even     more      important      in    crowded       facilities   like      MCMJ.”

(https://www.justice.gov/sites/default/files/crt/legacy/2010/12/15/MCMJ_findlet_0

1-15-09.pdf) The DOJ investigation found in part that:

       Specifically, our review revealed that [the jail] failed to: take adequate
       measures to limit the introduction of contraband [including “shanks”] into
       the facilities; classify inmates appropriately based on their anticipated in‐
       custody behavior; and supervise inmates adequately. Such failures
       significantly increase the risk of violence, placing both inmates and staff at
       risk of serious harm. The security, supervision, and protection from harm
       deficiencies at MCMJ were exacerbated by a lack of adequate policies,
       procedures, training, and staffing.

       64.   At that time MCMJ averaged 1,000 to 1,300 inmates monthly.

       65.   The 2009 DOJ letter described this population level as rendering

MCMJ “dangerously overcrowded.”

       66.   Currently, MCMJ routinely houses over 1500 inmates.

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      67.    That MCMJ is “dangerously overcrowded” has been known to the

county’s policymakers (and to Cochran and Oliver) for many years (well prior to

the 2009 DOJ letter).

      68.    The County’s policymakers and Cochran and Oliver have long

recognized that the current MCMJ facilities are inadequate to safely house the

inmate population.

      69.    Nevertheless, neither the County nor Cochran and Oliver have taken

adequate steps to address the extreme housing crisis at MCMJ.

      70.    The 2009 DOJ letter also put Cochran and Oliver on notice regarding

the inadequacy of MCMJ’s classification system and an ongoing problem with

inmate-on-inmate violence.

      71.    Despite being on notice that MCMJ lacked “a meaningful

classification system” and suffered from an ongoing inmate-on-inmate violence

problem, Cochran and Oliver, acting with deliberate indifference, have failed and

refused to implement an appropriate classification system and to take adequate

measures to reduce violence (such as increasing shakedowns for contraband,

including weapons).

      72.    Further, from the 2009 DOJ letter and otherwise, Cochran and Oliver

were on notice of a need to train correctional officers regarding the classification of

inmates.



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      73.    Currently, inmates are routinely housed without regard to their level

of dangerousness.

      74.    The failure to implement a proper classification system and take other

measures to control inmate-on-inmate violence are policies and customs of

Cochran and Oliver and directly led to the assault on Joshua by Brown.

      75.    Even after the assault on Brown, Cochran and Oliver have failed and

refused to take the necessary steps to keep inmates safe. Acting with deliberate

indifference, they failed and refused to implement a proper classification system,

take other steps to reduce inmate-on-inmate violence, and adequately train

correctional officers regarding classification issues.

      76.    On February 3, 2012, police officer Steven Green was stabbed and

killed by arrestee Lawrence Wallace Jr. in the sally port of MCMJ.

      77.    On January 30, 2018, shortly after the assault on Joshua, another

inmate was stabbed by an inmate, Greg Hackett, after being housed at MCMJ for

two weeks.

      78.    As recently as August 24, 2019, an inmate arrested on a ticket and

minor drug charges was housed with a murderer, who stabbed him with a foot-long

“shank” when the inmate refused to yield his bunk to the murderer.

      79.    Over the years leading up to Joshua’s stabbing, inmates have been

routinely stabbed or otherwise injured by weapons used by other inmates at

MCMJ.
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      80.    For many years, MCMJ has been routinely housing far more inmates

than it safely could.

      81.    Because of the limitations of the facilities, MCMJ personnel are

limited in their ability to protect non-violent inmates from dangerous inmates.

      82.    These limitations were known to Defendants for an extended period.

Nevertheless, with deliberate indifference, Defendants have not addressed the

problems.

      83.    Long before the assault, Cochran, Oliver, and others, were aware that

assaults were a serious problem. Defendants Cochran and Oliver, acting with

deliberate indifference, routinely housed dangerous inmates in crowded conditions

with non-violent inmates like Joshua.

      84.    Defendants Cochran and Oliver, acting with deliberate indifference,

established an unreasonable and longstanding policy of not identifying and

segregating inmates known or likely to be perpetrators of assaults.

      85.    The MCMJ was both dangerously overcrowded and dangerously

understaffed at the time plaintiff was attacked, putting inmates such as Joshua at

substantial risk of harm.

      86.    Nevertheless, defendants Cochran and Oliver failed to promulgate,

implement, and enforce adequate policies, procedures, and practices necessary to

adequately supervise and monitor the housing units to maintain the safety of

inmates therein.
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                                       CLAIMS

                         Count I – 42 U.S.C § 1983
                             Failure to Protect
      (Against Mobile County, Cochran, Oliver, the Correctional Officer
                         Defendants, and Holsten)
      87.    Plaintiff incorporates each paragraph of this complaint as if fully

restated here.

      88.    Pursuant to the Fourteenth Amendment of the United States

Constitution, plaintiff is entitled to be free from a known and unreasonable risk of

serious harm while in MCMJ.

      89.    Defendants, acting individually and in conspiracy with other

defendants, failed to protect plaintiff.

      90.    Defendants knew of and consciously disregarded the substantial risk

that plaintiff would be injured while incarcerated, failing to protect him from harm.

      91.    The misconduct described in this count was undertaken with

deliberate indifference, malice, willfulness, and/or reckless indifference to the

rights of plaintiff and others and was objectively unreasonable.

      92.    Defendants’ misconduct directly and proximately caused plaintiff to

be subjected to an unreasonable risk of serious harm, and caused him to suffer

damages including pain, suffering, fear, anxiety, rage, and other harmful physical

and psychological harms, both from the brutal assault and its devastating

aftermath.

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             Count II - § 1983 Failure to Train, Staff and Supervise
                          (Against Cochran and Oliver)

      93.    Plaintiff incorporates each paragraph of this complaint as if fully

restated here.

      94.    Sheriff Sam Cochran and Warden Trey Oliver as a matter of policy

and practice and with deliberate indifference, failed to properly train, assign, and

supervise correctional officers and Joshua was damaged as a result the aforesaid

conduct.

      95.    Upon information and belief, Cochran and Oliver were the final

repositories of authority for the purposes of training and supervising staff to insure

proper classification, cell assignment, medical care, and timely release of

detainees. Their deliberate indifference to the dangers posed by these failures gave

rise to Joshua’s injuries.

      96.    Cochran and Oliver violated Joshua’s Constitutional rights and are

liable under 42 U.S.C. § 1983.

    Count III – Negligence / Wantonness (Against NaphCare and Holsten)

      97.    Plaintiff incorporates each paragraph of this complaint as if fully

restated here.

      98.    The individual NaphCare defendant (Holsten) and unidentified

NaphCare employees involved with Joshua’s care (and the care of Brown) owed a

duty to Joshua to meet the standard of care applicable to inmates and/or to make
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sure those under their supervision were trained adequately regarding the proper

care of such inmates and that adequate policies and procedures regarding the

proper care of such inmates were in place. This standard of care required, among

other things, making housing assignments or recommendations that do not

endanger inmate safety. These defendants negligently and/or wantonly violated

this standard of care or caused it to be violated with the foreseeable result that

Joshua was assaulted and suffered unnecessary pain and suffering as a result.

      99.   Because NaphCare personnel were acting within the scope of their

employment, defendant Naphcare is liable for their negligence and/or wantonness.

                               RELIEF SOUGHT

      100. As relief, plaintiff seeks the following:

            a.     Appropriate declaratory and injunctive relief to remedy the

                   unlawful policies and customs at MCMJ;

            b.     That plaintiff be awarded such compensatory damages as a jury

                   shall determine from the evidence plaintiff is entitled to

                   recover;

            c.     That plaintiff be awarded against the individual defendants only

                   such punitive damages as a jury shall determine from the

                   evidence plaintiff is entitled to recover;

            d.     That plaintiff be awarded prejudgment and post-judgment

                   interest at the highest rates allowed by law;
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             e.     That plaintiff be awarded the costs of this action, reasonable

                    attorney’s fees, and reasonable expert witness fees;

             f.     That plaintiff be awarded such other and further relief to which

                    plaintiff is justly entitled.

                                     Jury Demand

      Plaintiff requests a trial by jury.



      Respectfully submitted this 30th day of December, 2019.

                                            s/ Henry Brewster
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                                            ATTORNEYS FOR PLAINTIFF


                          CERTIFICATE OF SERVICE


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      I certify that on the 30th day of December, 2019, the foregoing document

was filed using CM/ECF system which will send notice to all parties:


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